     Case 3:08-cr-00079-MCR         Document 1027      Filed 02/26/10     Page 1 of 1

                                                                                   Page 1 of 1


                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION



UNITED STATES OF AMERICA

v.                                                      Case No. 3:08cr79/MCR

ARNOLD RAY MANANSALA

                                    /

                                          ORDER

       Upon consideration of the Report and Recommendation of the Magistrate Judge
filed on February 24, 2010, pursuant to 28 U.S.C. § 636(b)(1)(B), and after reviewing
objections to the Recommendation, if any, as well as the realtime transcript of the February
24, 2010, hearing on defendant’s Motion for Self-Representation, the Recommendation
is adopted as the opinion of the Court.
       Accordingly, it is now ORDERED as follows:
       1.     The magistrate judge's report and recommendation is adopted and
incorporated by reference in this order.
       2.     The defendant’s, Arnold Ray Mansala, Motion for Self-Representation (doc.
931) is GRANTED and Pat Jackson, Esquire, shall remain as stand-by counsel.


       DONE AND ORDERED this 26th day of February, 2010.


                                           s/   M. Casey Rodgers
                                           M. CASEY RODGERS
                                           UNITED STATES DISTRICT JUDGE
